          Case 1:22-cv-01562-SAG Document 1 Filed 06/24/22 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 In Re Subpoena to:

 POLARIS RECOVERY CENTER, LLC d/b/a
                                                     Misc. Case No.:
 MARYLAND ADDICTION RECOVERY
 CENTER.

 Served in RJ, et al. v. Cigna Health and Life
 Insurance Company, et al., Case No. 5:20-cv-
 2255-EJD (N.D. Cal.)


               CIGNA HEALTH AND LIFE INSURANCE COMPANY’S
            MOTION TO COMPEL RESPONSES TO NON-PARTY SUBPOENA

       Pursuant to Rules 45(d)(2)(B)(i) and 45(g) of the Federal Rules of Civil Procedure, Cigna

Health and Life Insurance Company (“Cigna”) respectfully moves to compel compliance with the

subpoena (“Subpoena”) issued to Polaris Recovery Center, LLC d/b/a Maryland Addiction

Recovery Center (“MARC”) in connection with RJ, et al. v. Cigna Health and Life Insurance Co.,

et al., Case No. 5:20-cv-02255-EJD (N.D. Cal.) (“RJ”), a lawsuit pending in the United States

District Court for the Northern District of California. For reasons stated in the concurrently-filed

Memorandum of Law, the Court should grant the Motion and compel MARC to comply with the

Subpoena.
        Case 1:22-cv-01562-SAG Document 1 Filed 06/24/22 Page 2 of 3



Dated: June 24, 2022            Respectfully submitted,


                                By:    /s/ Michael B. Kimberly
                                      Michael B. Kimberly

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                                      Attorneys for Defendant Cigna Health and Life
                                      Insurance Company




                                      2
          Case 1:22-cv-01562-SAG Document 1 Filed 06/24/22 Page 3 of 3



                                    CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2022, I submitted the foregoing for filing by submitting a

paper copy to the Clerk’s Office via personal service. A true and correct copy of this motion will

be served via email to Counsel for MARC:

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       A true and correct copy of the foregoing will also be served on RJ Plaintiffs via email to:

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                                                      /s/ Michael B. Kimberly
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